Case 2:02-Cr-20215-BBD Document 79 Filed 06/21/05 Page 1 of 2 Page|D 73

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 95 ._!l__§?.g 2 l m @: 149
Western Division

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UNITED STATES oF AMERICA jig_jh-_- C- L§¢E§:- H§J-,§`[S
-vs- Case No. 2:020r20215-1-D

ERIC DORMAYER

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMEN'I`

DONE and ORDERED in 167 North Main, Memphis, this 2 0 day of June, 2005 .

 

`rU M. PHAM
UNITED STATES MAGISTRATE IUDGE

Copies idmished to:

United States Attorney

United States Marshal

Pretrial Services Off'lce

Assistant Federal Public Defender
lntake

ERIC DORMAYER

Thl's document entered on the docks sheet in compliance 7
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Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:02-CR-20215 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

 

Thornas A. Colthurst

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FEDERAL PUBLIC DEFENDER
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Honorable Bernice Donald
US DISTRICT COURT

